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                    EXHIBIT B
Case 3:17-cv-00072-NKM-JCH Document 1383-2 Filed 11/02/21 Page 2 of 22 Pageid#:
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        From: Emily Cole
        Sent: Tuesday, February 18, 2020 12:58 PM
        To: isuecrooks@comcast.net; jek318@gmail.com; dinuccilaw@outlook.com; jgravatt@dhdglaw.com;
        dcampbe ll@dhdglaw.com; bryan@bjoneslegal.com; edward@rebrooklaw.com; christopher.cantwell@gmail.com;
        Dillon_Hopper@protonmail.com; azzmador@gmail.com; e li.f.mosley@gmail.com; deplorabletruth@gmail.com;
        matthew.w.heimbach@gmail.com
        Cc: Michael Bloch <mbloch@kaplanhecker.com>
        Subject: Sines v. Kessler



        Please see the attached Notice of Intent to Serve Subpoena and subpoena.

        Thank you,

        Emily Cole

        Emily Cole I Kaplan Hecker & Fink LLP
        Associate
        350 Fifth Avenue I Suit e 7110
        New York, New York 10118
        (W) 929.294.2538 I CM) 646.899.0369
        ecole@kaplanhecker.com
       Case 3:17-cv-00072-NKM-JCH Document 1383-2 Filed 11/02/21 Page 3 of 22 Pageid#:
                                          23431
AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                           Western District of Virginia

                     Elizabeth Sines, et al.                                   )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No.      3:17-cv-00072-NKM
                      Jason Kessler, et al.                                    )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                                   Samantha Froelich

                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Testimony:   YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment:


 Place: James A. Byrne U.S. Courthouse                                                 Date and Time:
           601 Market Street                                                                             03/09/2020 9:00 am
           Philadelphia, PA 19106

          The deposition will be recorded by this method:                     Stenographer and videographer

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        02/17/2020
                                   CLERK OF COURT
                                                                                         OR
                                                                                                               Michael L. Bloch
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiffs
                                                                        , who issues or requests this subpoena, are:
Michael L. Bloch, Kaplan Hecker & Fink LLP, 350 Fifth Avenue, Suite 7110, New York, NY 10118

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 3:17-cv-00072-NKM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
      Case 3:17-cv-00072-NKM-JCH Document 1383-2 Filed 11/02/21 Page 5 of 22 Pageid#:
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AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                Attachment A
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                                                                7 of 22 U.S.  Pageid#:
                                                                                 DiS'I'. COURT
                                   23435                          AT CHARl..aTTU\llu VA
                                                                         l'JLEE>
                                                                              01/03/2018
                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, TYLER MAGILL, APRIL
 MUNIZ, HANNAH PEARCE, MARCUS
 MARTIN, JOHN DOE, JANE DOE 1, JANE
 DOE 2, and JANE DOE 3,


                            Plaintiffs,
 v.


 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES
 ALEX FIELDS, JR., VANGUARD                      Civil Action No. 3:17-cv-00072-NKM
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOT KLINE a/k/a/ ELI MOSELY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,


                            Defendants.

                XXXXXXXXXX ORDER FOR THE PRODUCTION OF DOCUMENTS
                [PROPOSED]
                    AND EXCHANGE OF CONFIDENTIAL INFORMATION




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         With the Parties, by and among their respective counsel, having stipulated and agreed to

  the terms set forth herein, and good cause having been shown,

         IT IS hereby ORDERED as follows:

  1)     Scope of Order – This Stipulation is being entered into to facilitate the production,

  exchange and discovery of documents and information that the parties agree merit confidential

  treatment (hereinafter the “Discovery”).

  2)     Designation of Discovery – Either party may designate Discovery, whether written,

  documentary, or testamentary, in connection with this action as “confidential” or “highly

  confidential” either by notation on the document, statement on the record of the deposition,

  written advice to the respective undersigned counsel for the parties hereto, or by other

  appropriate means.

  3)     Definitions – As used herein:

         a)      “Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as confidential. A Producing Party may designate as

                 Confidential any information that the Producing Party, in good faith, believes

                 should be protected from public disclosure.

         b)      “Highly Confidential Information” shall mean all Discovery, and all information

                 contained therein, designated as highly confidential. A Producing Party may

                 designate as Highly Confidential any information including, but not limited to,

                 personal information such as Social Security numbers, home addresses, telephone

                 numbers, tax returns, non-party surnames and medical, investment, credit and

                 banking information of any person, that the Producing Party, in good faith,




                                                 2
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                 believes should be protected from disclosure to those not permitted to receive

                 Highly Confidential Information.

         c)      “Producing Party” shall mean the parties to this action and any third parties

                 producing Confidential or Highly Confidential Information, or the party asserting

                 the confidentiality privilege, as the case may be.

         d)      “Receiving Party” shall mean the party to this action and/or any non-party

                 receiving Confidential or Highly Confidential Information.

  4)     Disclosure Prohibited – Except with the prior written consent of the Producing Party or

  by Order of the Court, Confidential Information shall not be furnished, shown or disclosed to any

  person or entity except to:

         a)      Parties and personnel of the Parties actually engaged in assisting in the

                 preparation of this action for trial or other proceeding herein who have been

                 advised of their obligations hereunder and have first executed the undertaking

                 contained in Exhibit A to this Stipulation;

         b)      counsel for the Parties to this action and their associated attorneys, paralegals and

                 other professional personnel (including support staff) who are directly assisting

                 such counsel in the preparation of this action for trial or other proceeding herein,

                 are under the supervision or control of such counsel, and who have been advised

                 by such counsel of their obligations hereunder;

         c)      expert witnesses or consultants retained by the parties or their counsel to furnish

                 technical or expert services in connection with this action or to give testimony

                 with respect to the subject matter of this action at the trial of this action or other

                 proceeding herein, and who have been advised by counsel of their obligations




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                  hereunder and have first executed the undertaking contained in Exhibit A to this

                  Stipulation;

          d)      trial or deposition witnesses;

          e)      stenographers and videographers used at a deposition and who have been advised

                  by counsel of their obligations hereunder;

          f)      the Court and Court personnel; and

          g)      any other person agreed to in writing by the Parties.

  5)      Treatment of Highly Confidential Information – Except with the prior written consent of

  the Producing Party or by Order of the Court, Highly Confidential Information shall not be

  furnished, shown or disclosed to any person or entity except to those identified in sub-paragraphs

  4(b), (c), (e), (f), and (g), as well as to trial or deposition witnesses if that witness sent, received,

  authored, or viewed the document or information outside the context of this litigation. For the

  avoidance of doubt, any person or entity identified in sub-paragraphs 4(c), 4(e), and 4(g)

  receiving Highly Confidential Information shall first execute the undertaking contained in

  Exhibit A to this Stipulation.

  6)      Retention of Confidentiality Agreements – Outside counsel for the Party that obtains the

  signed undertaking contained in Exhibit A shall retain them for six (6) months following the final

  termination of this litigation, including any appeals, and shall make them available to other

  Parties upon good cause shown.

  7)      Storage of Confidential Information – Each Receiving Party shall use due care with

  respect to the storage, custody, use, and/or dissemination of Confidential or Highly Confidential

  Information. A person with custody of documents designed Confidential or Highly Confidential




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  shall maintain them in a manner that limits access to those persons entitled under this Stipulation

  to examine the documents so designated.

  8)     Filing Under Seal – Any Party wishing to file Confidential or Highly Confidential

  Information with the Court shall, wherever possible, alert the Producing Party to the specific

  documents or information they wish to file sufficiently in advance of the filing to permit the

  Producing Party to file a motion to seal in accordance with the Court’s Local Rules, Title I, Rule

  9 (“Local Rule 9”). Upon being informed that the Producing Party will file such a motion, the

  filing party shall file the relevant documents and information under seal. Where such advance

  notice is not possible, the filing party will file any Confidential or Highly Confidential

  Information under seal and will also file a motion to seal in accordance with Local Rule 9

  requesting that the document be held under seal until such time as the Producing Party can file a

  motion to seal, which the Producing Party shall do within seven days.

  9)     Limitations on Use – Confidential and Highly Confidential Information shall be utilized

  by the Receiving Party and its counsel only for purposes of this action, including any appeals,

  and for no other purposes.

  10)    Presumption of Confidentiality – All testimony shall presumptively be treated as

  Confidential Information and subject to this Stipulation during the testimony and for a period of

  thirty (30) days after a transcript of said testimony is received by counsel for each of the parties.

  At or before the end of such thirty day period, the testimony shall be classified appropriately.

  11)    Restrictions of Use of Confidential Information – Any person receiving Confidential or

  Highly Confidential Information shall not reveal or discuss such information to or with any

  person not entitled to receive such information under the terms hereof.




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  12)     Inadvertent Misdesignation – Any document or information that may contain

  Confidential or Highly Confidential Information that has been inadvertently produced without

  identification as to its confidential nature may be so designated by the party asserting the

  confidentiality privilege by written notice to the undersigned counsel for the Receiving Party

  identifying the document or information as confidential or highly confidential within a

  reasonable time following the discovery that the document or information has been produced

  without such designation.

  13)    Extracts and Summaries – Extracts and summaries of Confidential or Highly Confidential

  Information shall also be treated as confidential or highly confidential in accordance with the

  provisions of this Stipulation.

  14)    No Waiver of Confidentiality – The production or disclosure of Confidential or Highly

  Confidential Information shall in no way constitute a waiver of each party’s right to object to the

  production or disclosure of other information in this action or in any other action.

  15)    Duration – The provisions of this Stipulation shall, absent prior written consent of both

  parties, continue to be binding after the conclusion of this action.

  16)    No Waiver of Privilege – Nothing herein shall be deemed to waive any privilege

  recognized by law, or shall be deemed an admission as to the admissibility in evidence of any

  facts or documents revealed in the course of disclosure. In the event of an inadvertent disclosure

  of allegedly privileged information, the Producing Party may provide notice in writing to the

  Receiving Party or Parties advising of the inadvertent disclosure, requesting return of the

  allegedly privileged information, and asserting the basis of the clawback request. Upon such

  notice, the Receiving Party or Parties shall make no further use of the allegedly privileged

  information, shall immediately segregate the information in a manner that will prevent any




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  further disclosure or dissemination, and shall take reasonable steps to retrieve the information to

  the extent it was disclosed or disseminated prior to receipt of the notice. Within ten (10) calendar

  days of receiving the notice of inadvertent disclosure, the Receiving Party shall return all

  allegedly privileged information in its possession, custody, or control, or shall provide written

  confirmation that such information has been deleted. Within twenty (20) days of providing the

  notice of inadvertent disclosure, or as otherwise agreed, the Producing Party shall provide the

  Receiving Party or parties with a privilege log identifying the allegedly privileged information

  that was inadvertently disclosed and the asserted grounds for privilege, as required by the Federal

  Rules of Civil Procedure and applicable court rules.

  17)    Subpoenas in Other Actions – In the event a Receiving Party having possession, custody,

  or control of any Confidential or Highly Confidential Information produced in this action

  received a subpoena or other process or order to produce such information, such subpoenaed

  person or entity shall promptly notify by e-mail the attorneys of record of the Producing Party

  and shall furnish those attorneys with a copy of said subpoena or other process or order. The

  Receiving Party shall not produce the requested Confidential or Highly Confidential Information

  unless and until a court of competent jurisdiction so directs, except if the Producing Party (a)

  consents, or (b) fails to file a motion to quash or fails to notify the Receiving Party in writing of

  its intention to contest the production of the Confidential or Highly Confidential Information

  prior to the date designated for production of the subpoenaed information, in which event the

  Receiving Party may produce on the designated production date, but no earlier. The purpose of

  requiring the Receiving Party to wait until the designated production date for producing the

  Confidential or Highly Confidential Information is to afford the Producing Party an opportunity

  to protect its confidentiality interest in the matter or proceeding in connection with which the




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  discovery request, subpoena, or order is issued. The Producing Party asserting the confidential

  treatment shall have the burden of defending against such subpoena, process, or order. The

  person or Party receiving the subpoena or other process or order shall be entitled to comply with

  it except to the extent the Producing Party asserting the confidential treatment is successful in

  obtaining an order modifying or quashing it.

  18)    Return or Destruction of Confidential Information – Within sixty (60) days after the final

  termination of this action by settlement or exhaustion of all motions or appeals, all Confidential

  or Highly Confidential Information produced or designated and all reproductions thereof, shall be

  returned to the Producing Party or shall be destroyed, at the option of the Producing Party. In the

  event that any party chooses to destroy physical objects and documents, such party shall certify

  in writing within sixty (60) days of the final termination of this litigation that it has undertaken its

  best efforts to destroy such physical objects and documents, and that such physical objects and

  documents have been destroyed to the best of its knowledge. Notwithstanding anything to the

  contrary, counsel of record for the parties may retain one copy of documents constituting work

  product, a copy of pleadings, motion papers, discovery responses, deposition transcripts and

  deposition and trial exhibits, except that internal counsel and internal staff shall not retain any

  copies or summaries of Highly Confidential Information. This stipulation shall not be interpreted

  in a manner that would violate any applicable canons of ethics or codes of professional

  responsibility. Nothing in this stipulation shall prohibit or interfere with the ability of counsel for

  any party, or of experts specially retained for this case, to represent any individual, corporation,

  or other entity adverse to any party or its affiliate(s) in connection with any other matters.

  19)    Modification – This Stipulation may be changed by further order of the Court, and is

  without prejudice to the rights of a party to move for relief from, or modification of, any of its




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  provisions, or to seek or agree to different or additional protection for any pa1ticular material or

  infom1ation.

  20)    Headings - The headings herein are provided only for the convenience of the Patties, and

  are not intended to define or limit the scope of the express tenns of this Stipulation.



  Dated: 1/3/18



  SO ORDERED




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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                               Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                         Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW                          EXHIBIT A: AGREEMENT TO
  HEIMBACH, MATTHEW PARROTT a/k/a                    RESPECT CONFIDENTIAL
  DAVID MATTHEW PARROTT,                                 INFORMATION
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                               Defendants.

  I, _________________ , state that:

         1.     My address is _____________________________________________________.

         2.     My present employer is ______________________________________________.

         3.     My present occupation or job description is ______________________________.




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          4.     I have received a copy of the Stipulation and Order for the Production and

  Exchange of Confidential Information (the “Order”) entered in the above-entitled Action on

  ______________.

          5.     I have carefully read and understand the provisions of the Order.

          6.     I will comply with all of the provisions of the Order.

          7.     I will hold in confidence, will not disclose to any one not qualified under the

  Order, and will use only for purposes of this litigation, any CONFIDENTIAL INFORMATION

  or HIGHLY CONFIDENTIAL INFORMATION that is disclosed to me.

          8.     Within sixty (60) days after conclusion of this litigation, or as otherwise agreed, I

  will return all CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

  INFORMATION that comes into my possession, and documents or things that I have prepared

  relating thereto, to counsel for the Party by whom I am employed or retained, or to counsel from

  whom I received the CONFIDENTIAL INFORMATION or HIGHLY CONFIDENTIAL

  INFORMATION.

          9.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of

  the Order in this Action.



  Signature:

  Date:




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                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                             Plaintiffs,

   –v–

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,                   Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSELY,
   IDENTITY EVROPA, MATTHEW                    JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                             Defendants.


                    NOTICE OF INTENT TO SERVE SUBPOENA
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         Pursuant to Rule 30 of the Federal Rules of Civil Procedure, Plaintiffs hereby provide

  notice that they intend to serve the attached Subpoena to Testify at a Deposition in a Civil Action

  to Samantha Froelich.

  Dated: February 18, 2020
         New York, New York

                                                       /s/ Michael L. Bloch
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                                                       Gabrielle E. Tenzer (pro hac vice)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 18, 2020, I provided copies of the foregoing via email to
  the following:

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                                                       Nathan Damigo, and Identity Europa, Inc.
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